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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
v.                                                   )        CASE NO. 2:05CR78-F
                                                     )        [WO]
ARQIMEDES ALTAMIRANO-                                )
RENDON                                               )

              RECOMMENDATION OF THE MAGISTRATE JUDGE

        This matter is before the court on the defendant’s [“Altamirano”]1 Motion to Suppress

(Doc. # 25). The only issue for the court to decide is whether the written consent Altamirano

executed was voluntary. Upon review of the defendant’s motion, the government’s response,

and evidence and testimony received at an earlier hearing, the court finds that it was, and,

therefore, the motion is due to be denied.




                                  I.    FACTUAL BACKGROUND

        In mid-March 2005, Alabama State Trooper Will Barnes [“Barnes”] was patrolling

a section of Interstate-85 in Montgomery County when he stopped a pickup truck that had

twice crossed the line separating the shoulder from the highway (TR. I, pp. 7-8). According

to Barnes, he pulled the truck over to ensure the driver was not under the influence of alcohol

or drugs or was not simply falling asleep at the wheel (TR. I, p. 8; II, pp. 7-11). Upon




        1
          At the hearing, the defendant stated his last name as, simply, Altamirano (Transcript of Evidentiary
Hearing [“Tr.”], Vol. II, p. 2, ll. 17-18; p. 3, l. 4). Althoug h the transcripts are not voluminous, the necessity
of two transcripts was occasioned by the first court reporter’s excused departure to attend another, previously
scheduled, court proceeding.
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approaching the vehicle from the passenger side, he noticed an abnormality in the contour

of the apparently custom-fitted protective plastic liner on the floor of the truck’s open bed,

an abnormality he described as “a buckle in the middle of the bed liner toward the front of

the truck” (TR. I, pp. 9-10). Drawing on his training and experience with concealed vehicle

compartments (TR. I, pp. 20-23), he immediately began to suspect that contraband lay

beneath the liner, which was covered with carpet and secured with “drywall screws” (TR.

I, pp. 9, 31).

         Altamirano, who claims to understand little English, was driving the truck. Barnes,

speaking only English, obtained a driver’s license from him that was issued in the name of

Noel Barragan before inquiring into Altamirano’s destination (TR. I, pp. 11-12). Altamirano

responded that he and his passenger, a co-defendant in this case, were traveling from North

Carolina to Mexico2 (TR. I, p. 12). After this initial exchange, Barnes asked Altamirano to

exit the truck and, following some additional conversation during which Altamirano

specifically denied possessing any weapons, to sit in the front passenger seat of his trooper



         2
           In the following telling exchange between Altamirano and his attorney (through an interpreter), he
testified that he actually told Barnes he was traveling to Houston and his passenger was traveling to Mexico:

                   Q: W hat happened following the request for the driver’s license?
                   A: The officer who’s next to the attorney took me to his patrol car and
                   asked me where we were going.
                   Q: Was he speaking in English or Spanish?
                   A: In English.
                   Q: Could you understand what the officer was saying?
                   A: No.
                   Q: Okay.
                   A: I told him I was going to Houston, that it was my friend who was going
                   to M exico.

(TR . II, p. 6).
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vehicle, which Altamirano did (TR. I, p. 14).

          Satisfied that Altamirano was not intoxicated, Barnes nonetheless spoke briefly with

Altamirano’s passenger before returning to his vehicle to issue a written warning (TR. I, pp.

14-15). Around this time, another trooper arrived on the scene, and Barnes informed him of

his suspicion regarding the deformed bed liner (TR. I, p. 17).

          The facts recited above reflect Barnes’ testimony and are not entirely uncontested.

Nevertheless, differences thus far are immaterial to the issue of Altamirano’s consent, 3

though they do factor into the court’s credibility determination, as discussed in greater detail

infra.        Although the court ultimately finds that Altamirano lacks credibility, and his

testimony is entitled to little, if any, weight, understanding the outcome of this case requires

some familiarity with both versions of events that followed Barnes’ return to his patrol car.

          According to Barnes, when he returned to his vehicle, he issued Altamirano a written

warning and explained to him that it was “not a ticket”, words Altamirano repeated before

signing it (TR. I, p. 16). Barnes then asked whether Altamirano was transporting any drugs,

weapons or money before Barnes sought consent to search his truck. (TR. I, p. 23). Upon

confirming that Altamirano read only Spanish, Barnes completed a pre-printed Spanish

consent form, which he then handed to Altamirano instructing him “to read the form and []

not sign the form unless he agreed with it understood [sic] what it said” (TR. I, p. 23). At the

hearing, Barnes stated:




          3
         For example, Altamirano denied crossing the line, which allegedly gave Barnes probable cause to
pull him over in the first place (Tr. II, p. 3). He does not, however, contest the legality of the stop (Tr. I, pp.
5-6).
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                   He looked over the form, appeared to be reading it. He signed
                   the form, or wrote his name, I guess that’s his signature, and he
                   told me it was okay, you know, if I search his vehicle. I don’t
                   recall his exact words. He shook his head okay and informed
                   me that it was okay that I looked in his vehicle.

(TR. I, p. 24).

        Predictably, Altamirano’s version of events differs dramatically. According to

Altamirano, while sitting in the trooper’s car and talking with the trooper who pulled him

over, 4 another trooper on the scene began to walk around the bed of the truck (TR. II, p. 8).5

He then described what followed.

                   A: When the officer [in the back of the truck] saw something
                   strange, then the officer who had been with me in the patrol car
                   got out. And saw [sic] that they were talking to each other there.

                   Q: Had you been given a warning ticket at this time?

                   A: No. No.

                   THE COURT: When were you given the warning ticket?

                   THE DEFENDANT: When the officer who is wearing the
                   uniform had been walking around and saw something strange
                   and he got down and he was talking to the other fellow, the
                   officer who had been with me in the patrol car came back and
                   started filling out the papers. And he said, no problem, no
                   ticket; sign here. He never gave me the paper for me to read,
                   because if he had given it to me, I would have read it and I
                   wouldn’t have signed it.




        4
         Altamirano adam antly and repeatedly identified David E . Henderson [“Henderson”], a special agent
with U.S. Imm igrations and Customs enforcem ent as the troop er who p ulled him over. Fu rther details are
provided infra.

        5
            It is not clear to w hom he was referring, but Altam irano indicated Barnes (TR. II, p. 13).
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(TR. II, p. 8). 6

        Altamirano did not deny signing the consent form, but he contended that he never

exercised control or possession of the form and never read the form because, while he was

signing it, the trooper administering the consent kept the form covered with his hand (TR.

II, pp. 10-12). In fact, he states that it was covered to such an extent that he did not realize

the form he was signing was written in Spanish (TR. II, p. 12). Furthermore, he denied

receiving any instructions from the trooper regarding the form and insisted that all the trooper

said was “no ticket, no problem” (TR. II, p. 13). Finally, he did not ask to read the form

because he “was nervous” (TR. II, p. 12).

        The subsequent search of the vehicle involved removing the bed liner, whereupon the

troopers discovered “[n]ine different guns, long guns, and some attachments like a choke and

some items for a shotgun” as well as ammunition. (TR. II, p. 28). Further investigation led

to the charge that Altamirano and his passenger unlawfully possessed “firearms and

ammunition while being aliens who were then illegally and unlawfully in the United States”

in violation of 18 U.S.C. § 922(g) (Doc. # 10, p. 1).

        Altamirano filed this motion seeking to suppress “the firearms discovered during the

traffic stop and subsequent search” (Doc. # 25, p. 8). Initially, Altamirano challenged not

only the consent but also the validity and duration of the stop as well as the basis for Barnes’

alleged suspicion that Altamirano was violating the law (Doc. # 25). At the suppression

hearing on 3 May 2005, however, apparently after further review of the evidence, Altamirano


        6
         Altamirano appears to be referring to the consent form, which he clams he signed before signing the
warning ticket (Tr. II, p. 23).
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explicitly limited his motion to the voluntariness of the consent (TR. I, p. 5).7




                                           II.    DISCUSSION

        The Fourth Amendment to the United States Constitution protects “[t]he right of the

people to be secure in their persons, houses, papers, and effects against unreasonable

searches and seizures.” U.S. C ONST . amend. IV. W hile this has been interpreted generally

to require law enforcement officials to obtain a warrant based on probable cause prior to

searching even a vehicle, neither a warrant nor probable cause are required when a voluntary

consent to search is obtained in advance. See, e.g., United States v. Santa, 236 F.3d 662, 676

(11th Cir. 2000); United States v. Butler, 102 F.3d 1191, 1197 (11th Cir. 1997).

        To be voluntary, consent must be knowing and freely given and cannot, therefore, be

the product of duress or coercion. See, e.g., United States v. Purcell, 236 F.3d 1274, 1281

(11th Cir. 2001). The burden is on the prosecution to prove by a preponderance of the

evidence that the consent was voluntary, see, e.g., United States v. Pineiro, 389 F.3d 1359,

1366 (11th Cir. 2004), and, when deciding the issue, the court must consider all of the

circumstances, including the following:

        1.       “the presence of coercive police procedures”;



        7
          Altamirano’s counsel stated, “[W]hat we are focusing on only is the co nsen t to search, w hether it
was validly and freely given and knowingly given” (Tr. I, p. 5, ll. 9-11). In his motion, Altamirano’s bases
for challenging the consent were that he and his passenger “did not speak English and had little understanding
of the English language,” and B arnes instructed him , only in E nglish, to “read and understand the form before
signing” (Doc. # 25, p. 7). In addition, Altamirano “did not have control of the consent form and if fact [sic]
Barnes had half the form covered with his arm when presenting it for the Defendant to sing [sic].” Id. With
no further guidance from Altamirano, the court construes his challenge to be limited to the voluntariness of
the co nsen t.
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       2.         “the extent of the defendant’s cooperation with the officer”;

       3.         “the defendant’s awareness of his right to refuse consent”;

       4.         “the defendant’s education and intelligence”; and

       5.         “the defendant’s belief that no incriminating evidence will be found”.

Purcell, 236 F.3d at 1282. The government has met its burden in this case.

       The testimony in this case portrays the circumstances of the traffic stop and the events

that followed in such starkly different ways that one version resembles the other in only the

broadest of generalities. With little additional evidence, the court must base its decision

primarily on which version of events is more persuasive. For the reasons that immediately

follow, the court finds that Altamirano lacks credibility, and, therefore, the court resolves

factual conflicts in accordance with Barnes’ version of events:

       •          Despite both parties’ and the court’s efforts to clarify and confirm that he was

                  not mistaken, Altamirano was unable to identify the trooper who pulled him

                  over and repeatedly insisted that a federal immigration officer who testified

                  that he does not conduct traffic stops, wear an Alabama trooper’s uniform or

                  drive a trooper vehicle did in fact pull him over in a trooper vehicle while

                  wearing a trooper uniform (TR. II, pp. 4-7; 11-21). Making this testimony even

                  more puzzling is the fact that the immigration officer attended the hearing

                  wearing a green suit, while Barnes, whom he specifically stated did not pull

                  him over, attended the hearing wearing his trooper uniform.8 Id. Moreover,



       8
           Even Altamirano’s attorney commented, “I’m as puzzled by this as anyone” (Tr. II, 15, ll. 20-21).
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      Barnes testified first, and the hearing took place less than two months after the

      incident.

 •    Altamirano also testified that three law enforcement vehicles pulled him over

      (Tr. II, p. 6), which, under the circumstances seems entirely implausible.

      Evidence in the record does not suggest that the police had any reason to carry

      out such a planned, multi-vehicle operation. Further, Altamirano identified

      no other troopers by appearance or by name.

 •    As noted supra, Altamirano testified that, even though he could not understand

       the trooper’s question regarding his destination, he was able to provide an

       appropriate, explanatory response (TR. II, p. 6).

 •     Altamirano had a driver’s license in someone else’s name (not his own) and

       admitted falsely signing, or writing, the name “Noel Barragan” on the consent

       form, which was the name on the driver’s license he provided Barnes (TR. II,

       pp. 22-23, 25).

 •     Altamirano’s testimony that the trooper who pulled him over did not relinquish

       control of the consent form and covered the top of the consent form with his

       hand to such an extent that Altamirano could not even tell that the consent

       form was in Spanish is also implausible. Regarding the former claim, the

       apparent meticulousness with which Altamirano wrote the name “Noel

       Barragan” on the consent form, evidenced by its eminent neatness and lack of

       any stray marks whatsoever, belie his assertion that he did not have control

       over the form (Court’s Ex. 1). Regarding the latter point, the size and shape
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              of the human hand simply do not allow the court to accept that either Barnes

              or the immigration officer could have covered the form to the extent necessary

              to conceal all of the information. Furthermore, below the signature line is the

              word “firma,” the Spanish word for “signature,” which means that even if the

              officer covered the upper portion of the form, Altamirano still would have

              reason to know that the form was written in Spanish. Finally, Altamirano

              admitted that he did not ask the trooper to remove his hand or allow him to

              read the form.

       Conversely, the court has no reason to discredit Barnes’ testimony, but acceptance of

his version of events is not dispositive. Altamirano, who did not claim that any officer

threatened him or acted in an intimidating manner, speaks and understands very limited

English and, assuming that at least some of his testimony is accurate, he has only a very

limited education (TR. II, p. 28). In addition, when the trooper sought consent, he was sitting

with Altamirano in the front seat of the patrol car.

       Notwithstanding these facts, the consent executed by Altamirano was voluntary. At

the hearing, Altamirano read aloud the consent form he had signed and indicated that he

understood that it meant that the police were “giving me this form to see if I agree to have

them search my pickup truck and if I agree, to sign it” (TR. II, p. 28). He also stated that had

he been permitted to read the form at the time of the stop, he “would have read it and . . .

wouldn’t have signed it” (TR. II, p. 8); therefore, he does not claim that his understanding

of the form’s meaning resulted from subsequent explanation. Consequently, neither the

language barrier nor Altamirano’s ninth grade education affected his ability to understand
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the form’s words, “I understand I have the right to deny my consent to the search above

described and to deny or refuse to sign this form” (TR. II, p. 27). 9

        Furthermore, the fact that Altamirano was seated in the patrol car does not compel a

finding that the consent was involuntary. United States v. Gigley, 213 F.3d 509, 514 (11th

Cir. 2000) (“The fact that Defendant was sitting in the front passenger seat of Smith’s patrol

car, without more, does not make her consent involuntary.”); see also U.S. v. Taverna, 348

F.3d 873, 879 (10th Cir. 2003) (stating that the fact that the defendant was seated in the

patrol car did not amount to coercion). It was daylight, the stop took place on the side of a

busy interstate highway and, although Altamirano stated that he was nervous (TR. II, p. 12),

he provided no credible evidence that he was under duress or that Barnes otherwise coerced

him to sign. His testimony that the trooper stated “no ticket, no problem”, suggesting that

Barnes misled him into believing that if he signed the consent form he would not receive a

ticket, is, for reasons already discussed, not worthy of belief.

        Therefore, the consent executed by Altamirano was voluntary. Specifically, the court

finds that Altamirano took possession of the consent form, had ample opportunity to read it,

was capable of understanding the form and did in fact understand the form. The court further

finds that the defendant was not the victim of coercion, duress or misrepresentations.



        9
         Altamirano also contends, depending upon wh ich statement is to be believed, either that Barnes
described the form in English or no t at all (comp are Doc. # 25, p. 7 with TR . II, pp. 12) and that this
compromises the validity of the consent. The court disagrees. The form is self-explanatory and provides
information beyond the constitution’s requ irements. See, e.g., Un ited States v. Zapata , 180 F.3d 1237, 1241
(11th Cir. 1999) (government need not establish that the defendant knew of his right to refuse con sent).
Furthermore, an individ ual w ith the wherew ithal to obtain a false driver’s license, purchase w eapons at a retail
store and navigate U.S. highways from North Carolina to Houston need not be told to read and understand
a form he is asked to sign .
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                                  III.   CONCLUSION

       Therefore, it is the RECOMM ENDATION of the Magistrate Judge that the motion

be DENIED. It is further

       ORDERED that the parties are DIRECTED to file any objections to the said

Recommendation on or before 26 August, 2005. Any objections filed must specifically

identify the findings in the Magistrate Judge’s Recommendation objected to. Frivolous,

conclusive or general objections will not be considered by the District Court. The parties are

advised that this Recommendation is not a final order of the court and, therefore, it is not

appealable.

       Failure to file written objections to the proposed findings and recommendations in the

Magistrate Judge’s report shall bar the party from a de novo determination by the District

Court of issues covered in the report and shall bar the party from attacking on appeal factual

findings in the report accepted or adopted by the District Court except upon grounds of plain

error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982). See Stein

v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982). See also Bonner v. City of

Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc) (adopting as binding precedent all of the

decisions of the former Fifth Circuit handed down prior to the close of business on 30

September 1981).

       DONE this 16th day of August, 2005.


                                           /s/ Vanzetta Penn McPherson
                                           VANZETTA PENN MCPHERSON
                                           UNITED STATES MAGISTRATE JUDGE
